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11   Additional Counsel Listed on Signature Pages

12                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14

15                                                          Case No. 07-5944 SC
                                                            MDL No. 1917
16
     In re: CATHODE RAY TUBE (CRT)                          DEFENDANTS PANASONIC
17   ANTITRUST LITIGATION                                   CORPORATION OF NORTH
                                                            AMERICA’S AND PANASONIC
18
                                                            CORPORATION’S (F/K/A MATSUSHITA
19   This Document Relates to:                              ELECTRIC INDUSTRIAL CO., LTD.)
                                                            NOTICE OF MOTION AND MOTION
20   INDIRECT-PURCHASER ACTIONS                             FOR SUMMARY JUDGMENT

21   Sharp Electronics Corp., et. al. v. Hitachi Ltd.,      [Proposed] Order Granting Defendants’
     et al., No. 13-cv-01173
                                                            Dispositive Motion
22
     Electrograph Sys., Inc., et al. v. Hitachi, Ltd., et
23   al., No. 11-cv-01656;                                Judge: Hon. Samuel P. Conti
                                                          Court: Courtroom 1, 17th Floor
     Electrograph Sys., Inc., et al. v. Technicolor SA,
24   et al., No. 13-cv-05724;                             Date: February 6, 2015 10 a.m.
25   Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;      REDACTED VERSION OF DOCUMENT
                                                            SOUGHT TO BE SEALED
26   Siegel v. Technicolor SA, et al., No. 13-cv-
     05261;
27
     Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,
28


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 1   No. 11-cv-05513;

 2   Best Buy Co., Inc., et al. v. Technicolor SA, et
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 5   cv-05686;
 6   Sears, Roebuck & Co., et al. v. Chunghwa
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     No. 11-cv-06275;
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     Interbond Corp. of Am. v. Technicolor SA, et al.,
11   No. 13-cv-05727;

12   Office Depot, Inc. v. Hitachi, Ltd., et al., No. 11-
     cv-06276;
13   Office Depot, Inc. v. Technicolor SA, et al., No.
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16   P.C. Richard & Son Long Island Corp., et al. v.
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18   Technicolor SA, et al., No. 13-cv-05725;

19   Schultze Agency Servs., LLC v. Hitachi, Ltd., et
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21   et al., No. 13-cv-05668;
     Tech Data Corp., et al. v. Hitachi, Ltd., et al.,
22   No. 13-cv-00157
23   Viewsonic Corp. v. Chunghwa Picture Tubes,
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 1                                NOTICE OF MOTION AND MOTION

 2          To all parties and their attorneys of record:

 3          Please take notice that on February 6, 2015, at 10 a.m. or as soon thereafter as this matter

 4   may be heard before the Honorable Samuel P. Conti, Senior U.S. District Court Judge, U.S.

 5   District Court for the Northern District of California, Courtroom No. 1, 17th Fl., 450 Golden Gate

 6   Avenue, San Francisco, California 94102, the moving Defendants listed on the signature pages

 7   below will and hereby do move this Court, pursuant to Federal Rule of Civil Procedure 56(a), for

 8   summary judgment in Defendants’ favor based upon Plaintiffs’ failure to put forth sufficient

 9   evidence to establish that Panasonic Corporation and Panasonic North America participated in the

10   alleged conspiracy.

11          This Motion is based upon this Notice and Motion, the Statement of the Issue, the

12   accompanying Memorandum of Points and Authorities, the accompanying declarations and

13   exhibits thereto and other materials in the record, argument of counsel, and such other matters as

14   the Court may consider.

15                                    STATEMENT OF THE ISSUE
16          Whether Panasonic Corporation (“Panasonic Corp.”) and Panasonic North America

17   (“PNA”) are entitled to summary judgment under Rule 56(a) of the Federal Rules of Civil

18   Procedure against Plaintiffs’ federal antitrust claims and claims brought under the laws of

19   Arizona, California, District of Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine,

20   Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Mexico, New York, North Carolina,

21   North Dakota, South Dakota, Tennessee, Vermont, West Virginia, and Wisconsin, because the

22   evidence presented fails to create a genuine issue of material fact as to Panasonic Corp.’s and

23   PNA’s participation in the alleged conspiracy to fix or stabilize prices of cathode ray tubes.

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     DEFS.’ PNA’S AND PANASONIC CORP.’S                                                                                           Case No. 07-5944 SC
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 1                                    PRELIMINARY STATEMENT

 2           The indirect purchaser class plaintiffs (“IPPs”) and direct action plaintiffs (“DAPs”)

 3   (collectively, “Plaintiffs”) allege a global, twelve-year price-fixing conspiracy among

 4   manufacturers of cathode ray tubes, also known as “CRTs.” Plaintiffs assert both federal and

 5   state claims against Panasonic Corporation (“Panasonic Corp.”) and Panasonic North America

 6   (“PNA”) for their alleged involvement in that conspiracy, which purportedly involved both

 7   computer monitor tubes (“CDTs”) and television tubes (“CPTs”).1 But Plaintiffs have failed to

 8   set forth sufficient evidence tying either Panasonic Corp. or PNA to that claimed conspiracy,

 9   under any law.2 To the contrary, the record is absent any evidence capable of raising a genuine

10   issue of material fact that it was more likely than not that either Panasonic Corp. or PNA

11   participated in the alleged conspiracy. See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

12   U.S. 574, 588 (1986) (holding that “conduct as consistent with permissible competition as with

13   illegal conspiracy does not, standing alone, support an inference of antitrust conspiracy”). Absent

14   such evidence, both Panasonic Corp. and PNA are entitled to summary judgment in their favor

15   regardless of whether Plaintiffs come forward with evidence sufficient to create a triable issue of

16   fact that other Defendants did. See, e.g., United States v. U.S. Gypsum Co., 438 U.S. 422, 463

17   (1978) (liability for price-fixing “c[an] only be predicated on the knowing involvement of each

18   defendant, considered individually, in the conspiracy charged”) (emphasis added); AD/SAT, Div.

19   of Skylight, Inc. v. Associated Press, 181 F.3d 216, 234 (2d Cir. 1999) (per curiam) (“There must .

20   . . be some evidence of actual knowledge of, and participation in, the illegal scheme in order to

21   establish a violation of the antitrust laws by a particular association member.”).

22           In assessing the record evidence on this issue, Panasonic Corp. and PNA recognize that

23   the Court must assess all of the evidence together and not compartmentalize Plaintiffs’ purported

24
     1
      ViewSonic, Target, Circuit City, Sharp and Tech Data only assert claims under the Sherman Act
25   and Clayton Act and do not assert any state law claims.
26   2
       This motion does not seek summary judgment on behalf of MT Picture Display Co., Ltd.
     (“MTPD”), a joint venture formed by Panasonic Corp. and Toshiba Corporation in April 2003,
27   when Panasonic Corp. left the CRT business entirely (having already left the CDT business by
     2001).
28

     DEFS.’ PNA’S AND PANASONIC CORP.’S                                                   Case No. 07-5944 SC
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 1   proof. However, as in the landmark Zenith litigation, “[n]othing plus nothing times nothing still

 2   equals nothing.” Zenith Radio Corp. v. Matsushita Elec. Indus. Co., Ltd., 513 F. Supp. 1100,

 3   1311 (E.D. Pa. 1981). As shown below, Plaintiffs here have failed to provide any basis for a fact

 4   finder to reasonably conclude that either Panasonic Corp. or PNA
                                                                                        3
 5                                                                                          participated

 6   in the conspiracy that has been alleged in this case.

 7           A.     There Is No Direct Evidence that Panasonic Corp. or PNA Participated in the
                    Alleged CRT Conspiracy Where Target Prices for CRTs Allegedly Were
 8                  Fixed
 9           There is no direct evidence – documentary or testimonial – that Panasonic Corp. or PNA

10   reached agreements with competitors involving CRTs sold in the U.S.          Nor have Plaintiffs

11   adduced any evidence that Panasonic Corp. or PNA attended

12

13                                                                               To the contrary, the

14   undisputed evidence demonstrates that no employee of either Panasonic Corp. or PNA attended a

15   single multilateral competitor meeting involving CDTs or CPTs.

16

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18   These facts are not disputed and, as a consequence, neither Panasonic Corp. nor PNA were ever

19   charged by the Department of Justice (“DOJ”) nor implicated in the plea agreement entered into

20   by Samsung SDI.

21           Instead, Plaintiffs’ evidence with respect to Panasonic Corp. and PNA, as discussed

22   below, is entirely circumstantial and, when this evidence is evaluated together, it becomes clear

23   that it is at least equally, if not more, consistent with the conclusion that Panasonic Corp. and

24   PNA were competing, and did not participate in the alleged CRT cartel.

25

26   3
      Declaration of Eva Cole, dated Nov. 7, 2014 (“Cole Decl.”), Ex. 1, Expert Report of Dr. Darrell
     Williams on Behalf of Defendants Panasonic Corporation, Matsushita Toshiba Picture Display
27   Co. Ltd., and Panasonic Corporation of North America, dated Aug. 5, 2014 (hereinafter,
     “Williams Report”), ¶¶ 7-8, Exs. C-1, C-2.
28

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 1          B.      Plaintiffs’ Circumstantial Evidence Is Insufficient To Permit A Reasonable
                    Jury To Conclude That Panasonic Corp. or PNA Participated In The Alleged
 2                  CRT Conspiracy

 3          The circumstantial evidence regarding Panasonic Corp. and PNA does not support an

 4   inference of their claimed participation in the alleged conspiracy.

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15          Further, the economic evidence is most consistent with the conclusion that Panasonic

16   Corp. and PNA were competing with the other Defendants in the sale of CRTs as the market was

17   collapsing, not participating in the alleged conspiracy.

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27          Considering all of this evidence together, Plaintiffs have simply failed to meet their burden

28   under Rule 56(a) to come forward with admissible and probative evidence capable of raising a

                                                 3
     DEFS.’ PNA’S AND PANASONIC CORP.’S                                                  Case No. 07-5944 SC
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 1   genuine issue of material fact that Panasonic Corp. or PNA participated in the CRT conspiracy

 2   that has been alleged.

 3                                STATEMENT OF UNDISPUTED FACTS
 4             A.      Panasonic Corp. and PNA’s CRT Businesses
 5             Panasonic Corp. was a manufacturer of CRTs based in Osaka, Japan. At the time of the

 6   alleged CRT conspiracy, Panasonic Corp. operated under the name Matsushita Electric Industrial

 7   Co., Ltd. (“MEI”).4 Panasonic Corp. stopped manufacturing and selling CDTs in 20015 and

 8   exited the CPT business in April of 2003.6

 9             PNA was the CRT sales subsidiary of Panasonic Corp. in the U.S. until Panasonic Corp.

10   exited the CRT business in 2003.7 PNA (then Matsushita Electric Corporation of America

11   (“MECA”)) also owned a tube factory in the United States, called Matsushita Display Devices

12   Company of America (“MDDA”), which manufactured CPTs in the U.S. through 2003.8 PNA

13   never manufactured CDTs.9

14             B.      No Direct Evidence Of Panasonic Corp.’s or PNA’s Participation in The
                       Alleged Conspiracy
15
                       1.     The Undisputed Evidence Shows That Panasonic Corp. and PNA Did
16                            Not Participate in Any
17

18             Plaintiffs’ experts, Dr. Janet Netz and Prof. Kenneth Elzinga, identified
19

20   4
      See, e.g., Defendant MTPD’s Answer to the Best Buy Plaintiffs’ First Amended Cmplt., No. 07-
     cv-05944, Dkt. No. 2172 (N.D. Cal. Nov. 4, 2013), ¶ 40.
21
     5
       See Cole Decl., Ex. 2, Muramatsu (Panasonic) Tr. 69:18-20
22                                                           ; id., Ex. 3, Kinoshita (Panasonic) Tr.
     40:13-14                                                              . Further, witnesses from
23   other companies have similarly confirmed Panasonic Corp.’s exit from the CDT business by
     2001. See id., Ex. 4, Liu (Chunghwa) Tr. 530:22-533:17.
24
     6
         Id., Ex. 5, TSB-CRT-00018162, at Art. 3(1)(3)(i).
25
     7
         See id., Ex. 6, PC-0020552.
26
     8
         See id., Ex. 7, MTPD-0176401.
27
     9
         Id., Ex. 1, Williams Report, ¶ 8 n.6.
28

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       Id., Ex. 8, Sur-Rebuttal Report of Dr. Darrell Williams, dated Nov. 6, 2014 (hereinafter,
19   “Williams Rebuttal Report”), Ex. 1A.
20   11
       Id., Ex. 9, Rebuttal Expert Report of Janet S. Netz, Ph.D., dated Sept. 26, 2014 (hereinafter,
     “Netz Rebuttal Report”), RR-85, RR-86.
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          Id., Ex. 4, Liu Tr. (Chunghwa) 530:22-531:6, 533:16.
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18   14
        Id., Ex. 13, Kim (SDI) Tr. 149:9-150:11; see also id., Ex. 14, Yang (Chunghwa) Tr. 61:16-
19   62:14

20
     15
21        See id., Ex. 15, CHU00028755.
     16
22        See id., Ex. 16, Chang (Panasonic) Tr. 221:8-11

23
     17
24        Id., Ex. 16, Chang (Panasonic) Tr. 115:13-117:21.

25   18
          Id., Ex. 16, Chang (Panasonic) Tr. 219:16-25.
26

27
     19
          Id., Ex. 16, Chang (Panasonic) Tr. 218:21-219:1.
28

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 1                    2.      There Is No Other Direct Evidence that Panasonic Corp. or PNA
                              Joined the Alleged CRT Cartel
 2
               In addition to not participating in the CRT competitor group meetings, Panasonic Corp.
 3
     and PNA have not entered into any criminal plea agreement in the United States and none of their
 4
     employees have been indicted. Moreover, although Samsung SDI pled guilty to a conspiracy for
 5
     conduct relating to certain CDTs,20 and the DOJ has issued six indictments against executives
 6
     from Chunghwa, LPD, and SDI, 21 there is no direct evidence that any of the behavior that was the
 7
     subject of these pleas or indictments had anything to do with Panasonic Corp. or PNA,22 who
 8
     have never been charged with any violation of United States antitrust laws relating to CRTs.
 9
               C.     Similarly, There Is No Circumstantial Evidence to Support an Inference That
10                    Panasonic Corp. or PNA Participated In the Alleged CRT Conspiracy and, In
                      Fact, the Undisputed Circumstantial Evidence Shows Panasonic Corp. and
11                    PNA Competed With Other Defendants in the Sale of CRTs
12                    1.      The Undisputed Evidence Shows That
13                            That Could Not Even Circumstantially Tie Panasonic Corp. or PNA to
                              the Broad-Ranging Conspiracy That Plaintiffs Allege
14
               Plaintiffs have no circumstantial evidence sufficient to support any reasonable inference
15
     that Panasonic Corp. or PNA participated in the alleged conspiracy.
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          United States v. Samsung SDI Co., Ltd., No. 11-cr-00162, Dkt. No. 1 (N. D. Cal. Aug. 8, 2011).
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     21
       United States v. Cheng Yuan Lin, No. 09:cr-00131, Dkt. No. 1 (N.D. Cal. Feb. 10, 2009);
25   United States v. Chung Cheng Yeh, No 10-cr-00231, Dkt. No. 1 (N.D. Cal. March 30, 2010);
     United States v. Seung-Kyu Lee, et. al, No. 10-cr-00817, Dkt. No. 1 (N.D. Cal. Nov. 9, 2010);
26   United States v. Wen Jun Cheng, No. 09-cr-00836, Dkt. No. 1 (N.D. Cal. Aug. 18, 2009).
27   22
          See Cole Decl., Ex. 8, Williams Rebuttal Report, ¶27 n.29 (
                                             ).
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          Id., Ex. 8, Williams Rebuttal Report, Exs. 1A, 1B, C-4.
25   25
          See id.
26   26
          See id.
27   27
          See id., Williams Rebuttal Report, Exs. 1A, C-2.
28   28
          See id., Ex. 16, Chang (Panasonic) Tr. 221:22-222:16

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 2                     2.     The Undisputed Evidence Shows That Panasonic Corp.’s and PNA’s
                              Pricing of CRTs Was More Consistent with Competition Than With
 3                            Participation in the Alleged Conspiracy
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          See id., Ex. 8, Williams Rebuttal Report, Ex. 1B.
24   30
          See id., Ex. 1, Williams Report, Ex. 12A.
25   31
          See id., Williams Report, Ex. 13A.
                                    Id., Williams Report, Ex. 12.
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     32
          See id., Williams Report, Ex. 23.
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          See id., Williams Report, Ex. 24. PNA only sold CRTs in the U.S.
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 4                    3.      The Undisputed Evidence Shows That Panasonic Corp.’s and PNA’s
                              Market Share For CPTs and CDTs Was Very Low
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12                    4.      The Undisputed Evidence Shows That Panasonic Corp.’s and PNA’s
                              Capacity Decisions Were Competitive
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22   34
          See id., Williams Report, ¶ 54 n.50; ¶ 111; Exs. 7B, 18B.
23   35
          See id., Williams Report, Ex. C-1.
24   36
          See id., Williams Report, Ex. C-2.
25   37
          See id., Williams Report, ¶¶ 6-8, 10.
26   38
          See id., Williams Report, ¶ 77.
27   39
          See id., Williams Report, Ex. 10B.
28   40
          See id., Williams Report, Ex. 10A.

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 4                    5.      The Undisputed Evidence Shows That Panasonic Corp. and PNA Did
                              Not Have an Economic Motive to Participate in the Alleged Twelve-
 5                            Year CRT Conspiracy
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          See id., Williams Report, Ex. C-2.
22   42
          See id., Ex. 3, Kinoshita (Panasonic) Tr. 40:13-40:14. PNA never manufactured CDTs.
23   43
          See id., Ex. 1, Williams Report, ¶ 23.
24   44
          See id., Williams Report, ¶¶ 96-100.
25   45
          See id., Ex. 5, TSB-CRT-00018162, at Art. 28(1).
26   46


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 1                                             ARGUMENT

 2   I.     SUMMARY JUDGMENT STANDARD

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            This Court must grant summary judgment where, as here, “the movant shows that there is
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     no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
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     law.” Fed. R. Civ. P. 56(a). The Supreme Court has made clear that “antitrust law limits the
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     range of permissible inferences from ambiguous evidence in a [Sherman Act] § 1 case.”
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     Matsushita, 475 U.S. at 588 (“conduct as consistent with permissible competition as with illegal
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     conspiracy does not, standing alone, support an inference of antitrust conspiracy”). To survive a
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     motion for summary judgment, a non-moving party cannot simply raise “some metaphysical
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     doubt as to the material facts,” but must instead come forward with “specific facts showing that
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     there is a genuine issue for trial.” Id. at 586-87 (emphasis in original); see also Anderson v.
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     Liberty Lobby, Inc., 477 U.S. 242, 249 (1986) (plaintiff cannot merely rest on its pleadings; but
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     rather must affirmatively demonstrate that there is a genuine issue for trial by producing evidence
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     that is more than “merely colorable”).
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            In light of this Supreme Court precedent, the Ninth Circuit has adopted a particular
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     framework for deciding motions for summary judgment in antitrust conspiracy cases. See In re
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     Citric Acid Litig., 191 F.3d 1090 (9th Cir. 1999) (“Citric Acid II”). Where, as here, the plaintiffs’
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     case is based on circumstantial evidence, the defendant can “rebut an allegation of conspiracy by
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     showing a plausible and justifiable reason for its conduct that is consistent with proper business
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     practice.” Id. at 1094. To avoid summary judgment – under federal and/or state law – the
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     plaintiff must then “provide specific evidence tending to show that the defendant was not
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     engaging in permissible competitive behavior.” Id.; see also Matsushita, 475 U.S. at 588 (holding
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     that plaintiffs “must present evidence that tends to exclude the possibility that the alleged
24
     conspirators acted independently”) (internal quotation marks omitted).
25
            Here, Plaintiffs have alleged a twelve-year global conspiracy against all Defendants,
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     including Panasonic Corp. and PNA, that covered all CDTs and CPTs during that time. In order
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     to avoid summary judgment, Plaintiffs must now come forward with evidence capable of raising a
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 1   genuine issue of material fact establishing that Panasonic Corp. and PNA participated in this

 2   sweeping CRT price-fixing conspiracy as alleged by Plaintiffs. See Citric Acid II, 191 F.3d at

 3   1098 n.4. Critically, Plaintiffs must present evidence that Panasonic Corp. and PNA – considered

 4   separately from the other Defendants in this case – participated in the alleged cartel. See

 5   Gypsum, 438 U.S. at 463 (holding that liability for price-fixing “c[an] only be predicated on the

 6   knowing involvement of each defendant, considered individually, in the conspiracy charged”)

 7   (emphasis added).

 8           Plaintiffs allege both federal antitrust claims under the Sherman Act as well as state law

 9   claims in their complaints against Panasonic Corp. and PNA – all based on the alleged CRT

10   conspiracy. If there is no genuine issue of material fact to establish the participation of Panasonic

11   Corp. and PNA in the alleged conspiracy, then all of these state law conspiracy claims also

12   necessarily fail.47

13           Plaintiffs thus have the burden of establishing a genuine issue of material fact through

14   either: (i) direct evidence that Panasonic Corp. and PNA joined the alleged CRT price-fixing

15   conspiracy; or (ii) circumstantial evidence tending to exclude the possibility that Panasonic Corp.

16   and PNA acted independently of the alleged CRT conspiracy. As demonstrated below, Plaintiffs

17   have failed to do either.

18   II.     THERE IS NO DIRECT EVIDENCE THAT PANASONIC CORP. OR PNA
             PARTICIPATED IN THE ALLEGED CONSPIRACY
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20           Under the summary judgment standard for antitrust cases in this District, “direct evidence”

21   is evidence that “establishes, without requiring any inferences, that [the defendant] participated in

22   the conspiracy . . . .” Citric Acid II, 191 F.3d at 1093-94 (emphasis added); In re Baby Food

23   Antitrust Litig., 166 F.3d 112, 118 (3d Circ. 1999). As in In re Citric Acid Litig., 996 F. Supp.

24   951, 954 (N.D. Cal. 1998) aff’d, 191 F.3d 1090 (9th Cir. 1999) (“Citric Acid I”), the record

25   arguably in this case contains some “direct evidence of a conspiracy” of some type by some

26   47
       In each of the states at issue, the legislature has passed a “harmonization statute” or the courts
     have decided that the state antitrust laws should be interpreted in accordance with federal antitrust
27   laws. The relevant state statutes and harmonization case law are set forth in Exhibit A to this
     memorandum.
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 1   competitors. See Citric Acid I, 996 F. Supp. at 956. But critically, there is no such direct

 2   evidence as to Panasonic. Corp. or PNA. See supra pp. 4-7.

 3          The purported evidence against Panasonic Corp. and PNA is similar to the evidence that

 4   could not withstand summary judgment against defendant Cargill in Citric Acid I, a ruling

 5   affirmed by the Ninth Circuit, 191 F.3d 1090 (9th Cir. 1999). In Citric Acid I, there was arguably

 6   evidence of an alleged price-fixing conspiracy amongst certain manufacturers. But, the plaintiffs

 7   failed to adduce evidence that all of the defendants participated in such a conspiracy, specifically

 8   failing to do so with respect to defendant Cargill, who, like Panasonic Corp. and PNA, did not

 9   attend the alleged conspiracy group meetings that served as the crux of the plaintiffs’ conspiracy

10   evidence, did not plead guilty to criminal conspiracy charges, and was not implicated by the

11   criminal pleas entered into by other defendants. Citric Acid I, 996 F. Supp. at 956. In granting

12   summary judgment against the plaintiffs, the Citric Acid I court found that the lack of evidence of

13   Cargill’s participation in any of the alleged conspiracy meetings, in combination with the other

14   record evidence, led to the conclusion that plaintiffs could not meet their burden of proof on

15   summary judgment against Cargill.

16          The same conclusion must be reached in favor of Panasonic Corp. and PNA here. Like in

17   Citric Acid I,

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21                                                                            See supra pp. 4-6; Citric

22   Acid I, 996 F. Supp. at 955, 962 (finding “most persuasive” “direct testimonial evidence” by

23   admitted co-conspirator that defendant never attended multilateral cartel meetings in granting

24   summary judgment against Sherman Act conspiracy claim).

25

26                                                                               See supra pp. 4-6.

27          Neither Panasonic Corp. nor PNA have entered into any criminal plea agreement in the

28   United States nor have any of their employees been indicted. Further, the only criminal plea that

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 1   is at issue, by Defendant Samsung SDI, does not implicate Panasonic Corp. or PNA. See supra p.

 2   7. The complete absence of this, or any other, direct evidence of conspiracy participation against

 3   Panasonic Corp or PNA is a heavy factor supporting the grant of summary judgment. Citric Acid

 4   I, 996 F. Supp. at 956 (holding that the “utter lack of any direct evidence” that Cargill was

 5   involved in the alleged conspiracy is “quite probative”).

 6          Indeed, under controlling Ninth Circuit law, the absence of any direct evidence that

 7   Panasonic Corp. or PNA participated in the alleged conspiracy, means that summary judgment

 8   must be granted in their favor unless there is circumstantial evidence that raises a genuine issue of

 9   material fact that it was more likely than not that they did so participate. See Matsushita, 475

10   U.S. at 588 (“conduct as consistent with permissible competition as with illegal conspiracy does

11   not, standing alone, support an inference of antitrust conspiracy”); see also Fed. Agr. Mortg.

12   Corp. v. It’s a Jungle Out There, Inc., No. C 03-3721 VRW 2005 WL 3325051, at *26 (N.D. Cal.

13   Dec. 7, 2005) (same).

14   III.   THERE IS ALSO NO CIRCUMSTANTIAL EVIDENCE SUFFICIENT TO
            SUPPORT AN INFERENCE THAT PANASONIC CORP. OR PNA
15          PARTICIPATED IN THE ALLEGED CONSPIRACY
16          In the absence of any direct evidence that Panasonic Corp. and PNA participated in the

17   alleged conspiracy, Plaintiffs must identify circumstantial evidence of Panasonic Corp.’s and

18   PNA’s involvement in the conspiracy that is more consistent with an inference of participation in

19   the alleged conspiracy than with an inference of independent or competitive behavior. See, e.g.,

20   Matsushita, 475 U.S. at 588. Here, the undisputed facts establish that Plaintiffs cannot meet this

21   burden as the circumstantial evidence is at least as consistent with the inference that Panasonic

22   Corp. and PNA were engaging in independent competitive behavior rather than participating in

23   the alleged conspiracy. Plaintiffs thus cannot satisfy the “special rule” governing the use of

24   circumstantial evidence in antitrust conspiracy cases. Citric Acid I, 996 F. Supp. at 954.

25          A.      The Undisputed Evidence Shows That
                                                       Were At Least as Consistent with an
26                  Inference of Independent Behavior as With Participation in the Alleged
                    Conspiracy
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 6                                                                      See, e.g., City of Moundridge v.

 7   Exxon Mobil Corp., No. 04-940 (RWR), 2009 WL 5385975, at *9 (D.D.C. Sept. 30, 2009)

 8   (“Evidence that competitors had contact with each other or exchanged information does not

 9   establish a conspiracy.”), aff’d 409 Fed. App’x. 362 (D.C. Cir. 2011).

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14                                               Citric Acid II, 191 F.3d at 1105 (evidence of some

15   bilateral price exchanges “is neither sufficient to survive summary judgment under Baby Food nor

16   probative of the industry-wide conspiracy alleged . . .”).

17          Indeed, numerous courts have held that a showing of even “frequent meetings between

18   alleged conspirators will not survive summary judgment without additional evidence that would

19   permit an inference that the meetings led to an illegal agreement.” See Sancap Abrasives Corp. v.

20   Swiss Indus. Abrasives, 19 F. App’x 181, 190-91 (6th Cir. 2001) (citing Oreck Corp. v. Whirlpool

21   Corp., 639 F.2d 75, 79 (2d Cir. 1980)).           This is particularly true because, as courts have

22   recognized, there are legitimate, non-conspiratorial reasons, for exchanging competitive

23   intelligence with competitors at various times so that participation in an alleged conspiracy cannot

24   be inferred from such exchanges alone, without additional evidence to support participation in the

25   alleged conspiracy. See, e.g., Citric Acid I, 996 F. Supp. at 959 (“With regard to all of these

26   meetings [with competitors], the fact that [the defendant] discussed prices does not necessarily

27   mean that it agreed to fix prices, or that it improperly exchanged price information.”) (emphasis

28   added); Baby Food, 166 F.3d at 118 (noting that competitors may exchange price information for

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 1   legitimate business reasons); Supermarket of Homes, Inc. v. San Fernando Valley Bd. of Realtors,

 2   786 F.2d 1400, 1407 (9th Cir. 1986) (same); Market Force Inc. v. Wauwatosa Realty Co., 906

 3   F.2d 1167, 1173 (7th Cir.1990) (“[I]t is well established that evidence of informal

 4   communications among several parties does not unambiguously support an inference of a

 5   conspiracy.”); see also Matsushita, 475 U.S. at 588 (1986) (granting summary judgment despite

 6   evidence of, among other things, numerous meetings between competing defendants to exchange

 7   information).48

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11                           And at least one of the Plaintiffs in this case admitted as much when a

12   defendant in In Re TFT-LCD (Flat Panel) Antitrust Litigation. Specifically, in that litigation,

13   Sharp expressly argued at the summary judgment stage that sporadic information exchanges were

14   not enough to support the inference of participation in a conspiracy.50

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        See also Williamson Oil Co., Inc. v. Philip Morris USA, 346 F.3d 1287, 1313 (11th Cir. 2003)
     (“It plainly was economically beneficial for each individual appellee to keep tabs on the
18   commercial activities of its competitors, so the receipt of information concerning their sales does
     not tend to exclude the possibility of independent action or to establish anticompetitive
19   collusion.”) (emphasis added); Mitchael v. Intracorp, Inc., 179 F.3d 847, 859 (10th Cir. 1999).
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       Sharp’s Motion for Partial Summary Judgment That the Japanese Defendants Did Not
     Participate in the Crystal Conspiracy, 07-md-01827, Dkt. No. 3436 (N.D. Cal. Sept. 2, 2011).
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 7                See Citric Acid I, 996 F. Supp. at 959 (finding that alleged conspiracy meetings had

 8   “even less probative value when viewed in light of the way the conspiracy admittedly

 9   functioned[,]” i.e., through formal meetings involving top executives from conspiring

10   companies.); Gypsum, 438 U.S. at 463 (proof of participation in price-fixing agreement “c[an]

11   only be predicated on the knowing involvement of each defendant, considered individually, in the

12   conspiracy charged.”) (emphasis added).52

13          Here again, Citric Acid I is instructive: There, the plaintiff presented evidence that an

14   employee from an admitted price-fixer had discussions with an employee of the defendant

15   regarding the bidding price for specific citric acid accounts. The Ninth Circuit held that such

16   evidence of some bilateral price exchanges “is neither sufficient to survive summary judgment

17   under Baby Food nor probative of the industry-wide conspiracy alleged . . . .” Citric Acid II, 191

18   F.3d at 1105.

19          B.       Plaintiffs’ Conspiracy Claims Against Panasonic Corp. and PNA Make No
                     Economic Sense and Plaintiffs Have Failed to Come Forward with Significant
20                   Probative Evidence to Exclude the Possibility that Panasonic Corp. and PNA
                     Acted Independently of the Alleged CRT Conspiracy
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     51
       See Cole Decl., Ex. 1, Williams Report, ¶ 43; id., Ex. 9, Netz Rebuttal Report, at 35; id., Ex. 20,
22   Expert Rebuttal Report of Dr. Kenneth G. Elzinga, dated Sept. 26, 2014, at 20; id., Ex. 21, Expert
     Report of Jerry A. Hausman, dated April 15, 2014, at 11-12.
23
     52
       Even assuming, arguendo, that such evidence could give rise to a question of material fact as to
24   Panasonic Corp.’s and PNA’s participation in some discrete price-fixing agreements for certain
     CRTs on a handful of occasions, it fails entirely to raise a question of material fact as to Panasonic
25   Corp.’s and PNA’s participation in the twelve-year price-fixing conspiracy alleged by Plaintiffs.
     See In re Optical Disk Drive Antitrust Litig., No. 3:10-md-2143 RS, 2011 WL 3894376, at *9
26   (N.D. Cal. Aug. 3, 2011) (granting motion to dismiss and finding that three separate instances of
     bid-rigging, even if proven, were “a far cry from establishing plausibility for a broad six year
27   continuing agreement among all defendants to fix the prices of all ODDs sold through
     innumerable other channels”).
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 1             Where, as here, a conspiracy claim “is one that simply makes no economic sense,”

 2   Plaintiffs “must come forward with more persuasive evidence to support their claim than would

 3   otherwise be necessary.” Matsushita, 475 U.S. at 587 (emphasis added). Plaintiffs have failed to

 4   satisfy this evidentiary burden here. To the contrary, the evidence shows that Panasonic Corp.’s

 5   and PNA’s interests were not aligned with the alleged twelve-year cartel and their alleged

 6   participation thus made no economic sense.

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14             Moreover, the other undisputed economic evidence is at least as consistent with a

15   conclusion that Panasonic Corp. and PNA were competing with the other CRT Defendants as with

16   participating in the alleged conspiracy:

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26             In sum, Plaintiffs have failed to produce sufficient evidence circumstantial or otherwise to
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          See Cole Decl., Ex. 1, Williams Report, ¶ 26-27.
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 1   exclude the possibility that Panasonic Corp. and PNA acted independently of any alleged CRT

 2   price-fixing conspiracy.   Summary judgment is thus required under the governing antitrust

 3   standards. See, e.g., Matsushita, 475 U.S. at 588; Citric Acid I, 996 F. Supp. at 954.

 4                                            CONCLUSION
 5          For all of the foregoing reasons, this Court should grant Panasonic Corp.’s and PNA’s

 6   motion for summary judgment as Plaintiffs have failed to meet their burden to come forward with

 7   significant probative evidence to raise a genuine issue of material fact that these particular

 8   Defendants participated in the conspiracy that has been alleged.

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                                                  (f/k/a Matsushita Electric Industrial Co., Ltd.) and
28                                                Panasonic Corporation of North America

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